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United States District Court
District of Massachusetts

Djanine Da Veiga,
Plaintiff,

Civil Action No.
22-11364-NMG

Vv.
Santander Bank, et al.,

Defendants.

MEMORANDUM & ORDER
GORTON, J.

This case arises from claims of race-based employment
discrimination and retaliation brought by plaintiff Djanine Da
Veiga (“Da Veiga” or “plaintifi”) against her former employer,
Santander Bank (“Santander”) and two of her supervisors at the
bank, Jose Gomez (“Gomez”) and Kim Lopez (“Lopez”)
(collectively, “defendants”).1 In September, 2023, another
session of this Court allowed defendants’ motion to dismiss
Counts I, II, III, V, IX and X (Docket No. 21).

After the reassignment of the case to this session in
December, 2023, and a lengthy series of contentious discovery
disputes between the parties (one of which remains ongoing), the

parties filed cross-motions for summary judgment on the

1 The complaint also names Jose Diaz, who is not an employee of Santander.
According to plaintiff’s counsel, Diaz was added as a defendant in error and,
accordingly, all claims against him will be dismissed.
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remaining claims. Because the Court finds that summary judgment
in favor of defendants is warranted, its motion will be allowed
and the case will be dismissed.

I. Background

A. Facts?

Santander is a commercial bank doing business in
Massachusetts. Da Veiga is an African-American resident of
Brockton, Massachusetts, and her nation of origin is Cape Verde.
She was an employee of Santander from February, 2014, until her
termination in December, 2021. At all relevant times, Gomez and
Lopez were employees of Santander to whom Da Veiga reported.
Gomez served as a “Retail District Executive” and Lopez served
as an “operations manager.”

In February, 2014, Da Veiga was hired as a “Float Retail
Banking Personal Representative” at a Santander branch located
in Norwood, Massachusetts. Six months later, she was
transferred to the Uphams Corner branch and promoted to the

position of “Retail Bank Branch Manager.” In 2017, she was

2 Plaintiff, in her response to defendants’ statement of undisputed material
facts (Docket No. 172), denies many of the facts set forth herein without
citation to admissible evidence. As such, neither her response nor her self-
serving deposition testimony creates a dispute of material fact and the Court
will treat the following facts as uncontested. Neshewat v. Titan Corp., No.
03-10841-PBS, 2005 WL 8175869, at *3 n.3 (D. Mass. Nov. 21, 2005); Ramos v.
Dep’t of Educ., 52 F. Supp. 3d 387, 394-96 (D.P.R. 2014).

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relocated to the Brockton, Massachusetts branch (“the Brockton
branch”) and continued to serve as a branch manager.

Santander regularly conducts random audits of its branches,
so-called “Branch Control Inspections” (“BCIs”). In September,
2020, Santander conducted an audit of the Brockton branch,
awarding it a score of “needs improvement.” The BCI report
noted concerns with respect to the branch’s compliance with bank
policies regarding, among other things, asset verification and
control. In December, 2020, Santander issued a written warning
to plaintiff for non-compliance with those policies. She
challenged some of the findings in that report but nevertheless
affirmed that she was responsible for improving compliance going
forward. Santander did not otherwise take adverse employment
action against Da Veiga, who remained in her role as branch
manager.

On October 5, 2021, Santander conducted another BCI audit
of the Brockton branch, which again was graded as “needs
improvement.” The report noted that the operational
deficiencies uncovered were “too serious in the aggregate” and
that several controls were “in need of immediate improvement.”
Among the problems highlighted in the report were cash
discrepancies and other failures related to one particular ATM

at the Brockton branch numbered ATM-D498.
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The Santander inspector who conducted the audit recommended
that ATM-D498 be placed under a special Santander policy to
rectify those errors. The policy, so-called “dual control”
refers to a cash management policy that sets a stringent process
whereby two employees must handle cash together. When an ATM is
placed under dual control, two or more employees must verify
cash inventory together and have “eyes on the cash” at all
times, e.g., by opening the machine together, removing cash
cartridges together and counting the cash together. In other
words, a single employee was forbidden from being alone when
conducting cash inventories.

The day after receiving the October, 2021, BCI report,
Lopez ordered that ATM-D498 be placed under dual control. One
week later, Da Veiga reported to Gomez and Lopez that there was
a cash shortage of $2,000 in ATM-D498. Da Veiga noted in her
report that the ATM was under dual control and that it had been
accessed by a technician to service the machine in the preceding
few days. Santander’s Fraud Operations team subsequently
commenced an investigation into the loss. Associate Corey Maack
(“Maack”) led the investigation.

According to Maack’s investigation report (“the Maack
Report”), he reviewed video footage recorded by a security
camera located where the cash for ATM-D498 is stored. The video

showed that the technician did not access the parts of the
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machine in which the cash was stored. The footage did show,
however, that Da Veiga had accessed the cash storage spaces on
October 8, 2021, i.e., two days after ATM-D498 had been placed
under dual control. On the video, Maack noted, Da Veiga can be
seen entering the cash storage room with another Santander
employee, Alyssa Gibson (“Gibson”). Da Veiga and Gibson then
removed the ATM’s cash cartridges and placed them on a table out
of view of the security camera. Gibson is then seen leaving the
room and another employee enters but then quickly leaves as
well. The video then shows Da Veiga alone in the ATM room, in
contravention of the dual control policy.

The Maack Report further indicates that he interviewed Da
Veiga and Gibson as part of his investigation. Da Veiga
initially denied accessing ATM-D498 on October 8, 2021, and then
later admits that she had accessed it but claims that the ATM
remained under dual control while it was inventoried. Maack
noted that, based on his inspection of the video surveillance,
her statement was inaccurate. Gibson informed Maack that the
dual control policy had been violated frequently at the Brockton
branch.

The Maack Report concluded that Da Veiga had violated
Santander’s dual control protocol by allowing Gibson to leave
the ATM room, thereby leaving her alone with access to the ATM

cash. As such, he recommended that plaintiff’s employment be
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terminated based upon that violation. Maack did not recommend
that Gibson be terminated or otherwise disciplined.

On October 14, 2021, Maack shared his findings via email
to, among other recipients, Gomez and Lisa Irons (“Irons”), an
Employee Relations Consultant. Lopez did receive the email.
Irons responded, copying Gomez, that she agreed with Maack’s
recommendation to terminate plaintiff’s employment. On December
17, 2021, Gomez and Irons met with Da Veiga and did just that.

Plaintiff fiied for unemployment benefits with the
Massachusetts Department of Unemployment Assistance (“MDUA”) and
appealed its initial determination that she did not qualify.
Santander did not oppose her appeal and did not present any
evidence regarding the reasons behind Da Veiga’s termination.

As such, the decision was reversed and Da Veiga was deemed
entitled to receive unemployment benefits as of December 19,
2021.

B. Procedural History

In July, 2022, plaintiff filed a complaint for wrongful
discharge in the Massachusetts Superior Court for Plymouth
County. Defendants timely removed that action to this Court.

Plaintiff brings ten claims against defendants: Count I,
wrongful discharge in violation of public policy; Count II,
breach of contract; Count III, breach of the implied covenant of

good faith and fair dealing; Count IV, race and national origin

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discrimination in violation of M.G.L. c.151B; Count V,
violations of plaintiff's civil rights under M.G.L. c.12 §11I;
Count VI, conspiracy with racial animus in violation of 42
U.S.C. §1985(3); Count VII, conspiracy to hinder provisions of
equal protection and exercise of rights and privileges as a
United States citizen in violation of 42 U.S.C. §1985(3); Count
VIII, action for neglect to prevent in violation of 42 U.S.C.
§1986; Count IX, defamation; and Count X, interference with
contractual or advantageous business relations (against Gomez
and Lopez only).

After dismissal of Counts I, II, III, V, IX and X by
another session of this Court and reassignment of the case, a
series of contentious discovery disputes followed. Ultimately,
Magistrate Judge Jennifer C. Boal granted defendants’ successive
motions for sanctions (Docket Nos. 109, 179) and ordered
plaintiff's attorney to pay defendants’ fees and costs for his
violation of various discovery orders (Docket No. 161). One
motion regarding plaintiff’s potential spoliation of evidence
remains pending.

In February, 2025, defendants timely filed a motion for
summary judgment on the remaining claims (Docket No. 126).
Plaintiff submitted a statement of facts in support of her
cross-motion for summary judgment but neglected to file either

the motion itself or a supporting memorandum. The following
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day, she corrected that omission, (Docket No. 135), but
defendants thereafter moved to strike her purportedly untimely
pleading (Docket No. 140). Plaintiff cross-moved to strike
defendants’ motion to strike and submitted a request for
attorneys’ fees (Docket No. 153). She aiso moved for a
retroactive extension of her summary judgment deadline anda
declaration that her motion was timely filed.

The Court first addresses plaintiff’s request for a
retroactive extension of time to file her motion for summary
judgment. A determination of whether the summary judgment
motion was filed timely directly affects the validity of
defendants’ request to strike it.

Although the Court finds that plaintiff's counsel has once
again missed a Court-imposed deadline (see Docket Nos. 63, 65,
82, 96), it will deny’ all of the procedural motions and decide
the cross-motions for summary judgment on their merits because
of the impcrtance of the questions at hand. That does not
excuse the dilatory conduct of plaintiff's counsel but simply
puts it into perspective.

II. Cross-Motions for Summary Judgment

A. Legal Standard
The role of summary judgment is “to pierce the pleadings
and to assess the proof in order to see whether there is a

genuine need for trial.” Mesnick v. Gen. Elec. Co., 950 F.2d

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816, 822 (1st Cir. 1991) {quoting Garside v. Osco Drug, Inc.,

895 F.2d 46, 50 (lst Cir. 1990)). The burden is on the moving
party to show, through the pleadings, discovery and affidavits,
“that there is no genuine dispute as to any material fact and

the movant is entitled to judgment as a matter of law.” Fed. R.

A fact is material if it “might affect the outcome of the

suit under the governing law.” Anderson v. Liberty Lobby, Inc.,

477 U.S. 242, 248 (1986). A genuine issue of material fact
exists where the evidence with respect to the material fact in
dispute “is such that a reasonable jury could return a verdict
for the nonmoving party.” Id.

If the moving party satisfies its burden, the burden shifts
to the nonmoving party to set forth specific facts showing that

there is a genuine, triable issue. Celotex Corp. v. Catrett, 477

U.S. 317, 324 (1986). The Court must view the entire record in
the light most favorable to the non-moving party and make all
reasonable inferences in that party's favor. O'Connor v.
Steeves, 994 F.2d 905, 907 (lst Cir. 1993). Summary judgment is
appropriate if, after viewing the record in the non-moving
party's favor, the Court determines that no genuine issue of
material fact exists and that the moving party is entitled to

judgment as a matter of law. Celotex, 477 U.S. at 322-23.
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B. Application

1. Count IV: Racial and National Origin
Discrimination

Defendants first move for summary judgment on Count IV,
which alleges that defendants discriminated against Da Veiga on
the basis of her race and national origin, in violation of
Massachusetts General Laws Chapter 151B (“Chapter 151B”).

To prove a discrimination claim under Chapter 151B, Da
Veiga must prove “membership in a protected class, harm,

discriminatory animus, and causation.” Cariglia v. Hertz Equip.

Rental Corp., 363 F.3d 77, 83 (lst Cir. 2004) (quoting Lipchitz

v. Raytheon Co., 434 Mass. 493, 502 (2001)).

Here, it is undisputed that Da Veiga lacks direct evidence
that Santander’s actions were motivated by discriminatory
animus. Thus, to survive summary judgment, Da Veiga must
withstand the three-part, burden-shifting framework established

in McDonnell Douglas Corp. v. Green, 411 U.S. 792 (1973), which

is used to evaluate claims of discriminatory treatment under

both federal and state anti-discrimination laws. See Haddad v.

Wal-Mart Stores, Inc., 455 Mass. 91, 97 (2009).

Under that framework, plaintiff must first establish a

prima facie case of discrimination, defendant must counter that

with a legitimate, nondiscriminatory reason for its employment

action and, if so, the burden shifts back to plaintiff to

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produce evidence demonstrating that defendant’s stated reason

was a pretext. Grol v. Safelite Grp., Inc., 297 F. Supp. 3d 241,

245 (D. Mass. 2018) (citing Haddad, 455 Mass. at 97 n.14).
Assuming arguendo that Da Veiga satisfied the first step of

the McDonnell Douglas analysis, her claim nonetheless fails.

Defendants offer a legitimate, nondiscriminatory explanation for
her termination which Da Veiga fails to rebut as pretextual.

The undisputed facts show that Irons decided to terminate
Da Veiga for the legitimate, nondiscriminatory reason that Da

Veiga had violated company policy. See, e.g., Gunther v. Gap,

Inc., 1 F. Supp. 2d 73, 78 (D. Mass. 1998) (violating company
policy requiring managers to ensure stores are properly

supervised and staffed at all times); Thompson v. Coca-Cola Co.,

522 F.3d 168, 177 (failing to follow procedures to request and

extend vacation leave); Kuc v. Smith & Nephew, Inc., No. 19-

11402-FDS, 2022 WL 444826, at *11-12 (D. Mass. Feb. 14,

2022) (falsifying inspection documents and failing to follow
inspection protocols). Irons and Gomez received and reviewed
the Maack Report, which concluded that Da Veiga had violated
Santander’s dual control policy and recommended her termination.
In response, Irons stated that she agreed with the
recommendation to terminate Da Veiga’s employment given her

violation of company policy.

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Da Veiga counters, in error, that defendants are estopped
from litigating the question of whether their justification for
her termination was legitimate and nondiscriminatory because the
MDUA already ruled on that issue. Not so. The Massachusetts
Supreme Judicial Court (“SJC”) has explicitiy ruled that MDUA
findings may not have preclusive effect on defendant-employers

when defending wrongful discharge cases. Tuper v. N. Adams

Ambulance Serv., Inc., 428 Mass. 132, 136 (1998).

Da Veiga further contends that she did not, in fact,
violate the dual control policy. That is irrelevant. Whether
the motivation behind her termination was discriminatory is,
ultimately, a question of subjective intent. As such, the focus
of the inquiry is on whether the employer “believe[d] in the
accuracy of the reason given for the adverse employment action.”

Espinal v. Nat'l Grid NE Holdings 2, LLC, 693 F.3d 31, 35 (lst

Cir. 2012) (citing. Kouvchinov v. Parametric Tech. Corp., 537

F.3d 62, 67 (1st Cir. 2008)). Da’Veiga offers nothing to
suggest that Irons or Gomez did not believe the accuracy of the
allegations in the Maack Report.

Finally, Da Veiga offers, as evidence of pretext, that she
was treated differently from similarly situated persons who were
not African-American or of Cape Verdean origin. Plaintiff
relies heavily on the. treatment of Gibson, who was reprimanded,

but not terminated, for her violation of the dual control policy

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with Da Veiga. Gibson, as an employee who reports to Da Veiga
as her supervisor, is not, however, similarly situated. See

Woodward v. Emulex Corp., 714 F.3d 632, 639 (lst Cir. 2013)

(concluding that employees who held positions senior to

plaintiff were not similarly situated); Vasquez v. Cnty. of Los

Angeles, 349 F.3d 634, 641 (9th Cir. 2003) (“Employees in
supervisor positions are generally deemed not to be similarly
situated tc lower-level employees.”). Da Veiga’s reliance on
Gibson’s treatment is unavailing.

Da Veiga attempts to buttress her claims of disparate
treatment by alleging, without citation, that other employees
(both named and unnamed) were not fired for policy violations.
But those unsupported allegations do not a genuine dispute of

fact make. See Anderson, 477 U.S. at 256. Plaintiff was

required to
go beyond the pleadings and by [her] own affidavits,
or by the depositions, answers to interrogatories, and
admissions on file, designate specific facts showing
that there is a genuine issue for trial.

Celotex, 477 U.S. at 324 (cleaned up). Da Veiga has not met

that burden. She cites no admissible evidence that would

support her speculative allegations. See Medina-Rivera v. MVM,

Inc., 713 F.3d 132, 139-40 (1st Cir. 2013) (holding that where
employee relied “on her say-so [and did not] support her

rhetoric with hard proof, .. . her charge amount[ed] to no more

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than conclusory speculation, which cannot block summary

judgment” or establish a prima facie case).

Summary judgment for defendants is therefore warranted on
plaintiff’s discrimination claim.

2. Counts VI, VII and VIII: Discrimination
Conspiracy

Finally, defendants move for summary judgment on Counts VI,
VII and VIII which, together, allege a conspiracy to interfere
with Da Veiga’s civil rights and neglect to prevent such a
conspiracy.

Counts VI and VII are brought under 42 U.S.C. § 1985(3),
which prohibits conspiring to deprive a United States citizen of
“the equal protection of the laws, or of equal privileges and
immunities under the law.” An actionable claim under §1985(3)
requires ¢ showing that

1) the defendants ertered into a conspiracy, 2) the purpose

of the conspiracy was to deprive the plaintiff of the right

to equal protection or equal privileges and immunities
under the law, 3) the defendants committed an “overt act in
furtherance of the conspiracy” and 4) the plaintiff

suffered injury to person or property or was deprived of a

constitutionally protected right.

Enwonwu v. Drivers Staffing Inc., 881 F. Supp. 2d 238, 241 (D.

Mass. 2012) (quoting Uphoff Figueroa v. Alejandro, 597 F.3d 423,

43? (ist Cir. 2010). Plaintiff must also show that the

conspiracy was “motivated by a racial or otherwise class-based

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invidiously discriminatory animus.” Canney v. City of Chelsea,

925 F. Supp. 58, 68 (D. Mass. 1996).

Da Veiga has proffered no admissible evidence to
demonstrate either the existence of a conspiracy or a
discriminatory animus motivating the decision to terminate her.
To prove a conspiracy, plaintiff must proffer facts “indicating
an agreement among the conspirators to deprive the plaintiff of

her civil rights.” Parker v. Landry, 935 F.3d 9, 18 (1st Cir.

2019). Plaintiff does not meet her burden because she has
simply provided the Court with
[v]ague and conclusory allegations about persons working
together, with scant specifics as to the nature of their

joint effort or the formation of their agreement

Alston v. Spiegel, 988 F.3d 564, 578 (lst Cir. 2021).

No substantive evidence has been proffered. The Court
finds nothing in the record indicating that Gomez and Lopez
communicated about the decision to terminate Da Veiga. Rather,
Irons (who is not a defendant in this case) ordered that Da
Veiga be terminated. Gomez merely carried out that directive.
And just as with Count IV, plaintiff produces neither direct nor
indirect evidence of racial or other class-based animus in
connection with her termination. She admits in her deposition
that she never heard either Lopez or Gomez make any comments

that could be construed as discriminatory.
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Finally, defendants move to dismiss Count VIII, alleging
that defendants violated §1986 through a conspiracy because they.
failed to prevent a violation of §1985. “A prerequisite for a
claim under Section 1986 is the existence of a conspiracy

actionable under Section 1985.” Lowden v. William M. Mercer,

Inc., 903 F. Supp. 212, 218 (D. Mass. 1995) (quoting Chemlen v.
Giulmette, No. 89-2308-NG, 1994 WL 548135, at *5 n.8 (D. Mass.
Aug. 30, 1994)) (internal quotation marks omitted). Because
this Court finds there was no conspiracy to support a §1985

claim, plaintiff’s §1986 claim is unavailing.

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ORDER
For the foregoing reasons,

- defendants’ motion to strike (Docket no. 140) is DENIED;
- plaintiff's motion to strike (Docket No. 153) is DENIED;

- plaintiff’s motion for extension of time (Docket No. 159)
is DENIED;

- plaintiff's motion for summary judgment (Docket No. 135)
is DENIED; and

- defendants’ motion for summary judgment (Docket No. 126)
is ALLOWED.

So ordered.

V Meno Sytem

Nathaniel M. Gorton
United States District Judge

Dated: sune 4 , 2025
